                            Case 3:84-mj-00253-ATB Document 1 Filed 04/02/84 Page 1 of 1

MU 91
 ev,    J1/82
                                                              CRIMINAL COMPLAINT
                                                                         I   DISTRICT
          Iflite            ttez             istrtrt          Iuurt           WSTm DISrTCT               C? TEXAS, EL PASO   DIV.
                                                                         tOOCKET NO.
                    UNITED STATES OF AMERICA
                               V.                                        I




          DWT'T   V'T'O COtTAZ                                               MAGISTRATE'S CASE NO.
        nfl3 0     U             o6,i"o        gm      's,ps,brn hair
                                                                         J
                                                                                             84-0253C01


        Complaint for violation of Title         1.8             United States Code §           7l        (a)

NAME OF JUDCE OR MAC is-r                                                    FFICIAL TITLE               LOCATION
                                                                                                     I




          hiltn 1' Co'e                                                             Maristrate            El    aso,Texas
                                                                                                     J

DATE CF OFFENSE             PLACE OF OFFENSE                             AODREs OF ACCUSED (If known)


        I nril       198          'CI La Tuna, Texas                           Mexico
COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

        The    defendant u'ña'fully, nd willfully escao'd from the custody of the Attorney General
          of the "nited States to whom he was lawfully convnittd on 20 Aug... 1983, pursuant to a
          judre".ent and commitment order of the Tlnited States District Court for the Southern
          District of' Texas,Brownsvill.e Uivision, in violation of 18 USC 71 (a)..
        .A frue coty of the orina1, I certity.
                   rk.iistrict Court
        Fy.                                 Ccrk
                       Special Deputy

                              QINST TJ-tE AççUSED
(JASISOF COMPLAINANTS CHA9GE
 Tnf'orn,ation was recelveli trom                       t.
                                            Jary avne, Investi'ator at FCI La 1una, Texas that on
                                                                .



 1 April 198h, arv duri.n       the 9:00 91 head count the defendant was discovered iissing from
 t'c nrisnri c-i'p at 'CI La Tuna, PMTexas        , along with ano'.hor inmate named romas Olivas £orr
 loth were last seen at the         ':O0     head  count, and after a coinniete search of the nrison
     ounds it was    determined   th.it  they did  infact escane.
 rt was found           defendants eaaud from the camp in their nrison clothes, and left out
                         t'it
 -'f' ne of the six doers in the cvnn hnil.ding..le,ving their nersonal uronerty behind.
  ''e 4edendrnt was serving a 2 veir sentencç fo the           offence of 8 T$C l32L (a) (2) in a
     colIr)t iwflct'nent(transnorting a certain±ihe         ninited  tates, and in the Southern DistDic
 ,-)r    rexas,.
1ATERIAL WITNESSES IN RELATION TO THIS CHARGE:




        Being duly sworn, I declare that the foregoing is true                 Ifred Frank     Tessman
        and correct to the best of my knowledge.                               ICIAL TITLE


 Sworn to before me and subscribed in my presence,
SIGNATURE OF MAGISTRATE(1)                                                                                          DATE

                'hilir 1      Cole                                                                                   April 2, 198t
I See   Federal Rules of CrImInal Procedure rules 3 and 54.
